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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.          CV 18-5741-DMG (PLAx)                                         Date   June 7, 2019
 Title             LUCAS R., et al. v. ALEX AZAR, et al.




 Present: The Honorable           Sheri Pym, United States Magistrate Judge
                Kimberly Carter                                None                              None
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiff:                      Attorneys Present for Defendant:
                             N/A                                                    N/A


 Proceedings:                 (In Chambers) Order Excusing Certain Persons from June 12, 2019
                              Settlement Conference



       In response to formal and informal requests made, and in light of the agreed
parameters of the June 12, 2019 settlement conference in this case, the following persons
are excused from attending the June 12, 2019 settlement conference in person:
       Defendant E. Scott Lloyd and the attorneys who represent him in his individual
capacity; and
       All plaintiffs and their non-legal representatives and friends – that is, the minor
class representative plaintiffs and their next friends, and the representatives of the entity
plaintiffs (San Fernando Valley Refugee Children Center and Unaccompanied Central
American Refugee Empowerment).

       Although the foregoing individuals are not required to attend the June 12, 2019
settlement conference in person, they must remain available during the conference to be
contacted by telephone if needed.




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